         Case 1:21-cv-02331-AT Document 8 Filed 08/11/21 Page 1 of 3




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

                                     )
MICHAEL ESTRADA,                     )
                                     )
             Plaintiff,              )
                                     )
vs.                                  )   CASE NO. 1:21-cv-02331-AT
                                     )
DISCOUNT AUTO PARTS, LLC, )
a foreign limited liability company, )
d/b/a ADVANCE AUTO PARTS, )
                                     )
             Defendant.              )
                                     )

              DEFENDANT DISCOUNT AUTO PARTS, LLC.’S
                     NOTICE OF SETTLEMENT

            Defendant, DISCOUNT AUTO PARTS LLC d/b/a ADVANCE

AUTO PARTS, through its undersigned counsel, hereby advises the Court that the

parties have reached an amicable settlement of this matter. Upon finalization of

the settlement documents, the parties will file a Stipulation for Dismissal with

Prejudice with the Court.



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         Case 1:21-cv-02331-AT Document 8 Filed 08/11/21 Page 2 of 3




            DATED this 11th day of August, 2021.

                                            Respectfully submitted,

                                            /s/ Evan M. Rosen
                                            Evan M. Rosen
                                            Georgia Bar No. 649716
                                            JACKSON LEWIS P.C.
                                            171 17th Street NW
                                            Suite 1200
                                            Atlanta, Georgia 30363
                                            Tel: (404) 525-8200
                                            Fax: (404) 525-1173
                                            evan.rosen@jacksonlewis.com

                                      ATTORNEYS FOR DEFENDANT

                             CERTIFICATION

      In accordance with Civil Local Rules 5.1C and 7.1D, I hereby certify that

this document has been prepared in 14 point, Times New Roman font.

                                                /s/ Evan M. Rosen




                                      2
         Case 1:21-cv-02331-AT Document 8 Filed 08/11/21 Page 3 of 3




                       CERTIFICATE OF SERVICE

             I HEREBY CERTIFY that on this 11th day of August, 2021, the
foregoing was electronically filed with the Clerk of the Court by using the
CM/ECF system, which will send a notice of electronic filing to: Matthew N.
Pope, Esquire, Matthew N. Pope, P.C., 900 2nd Avenue, P.O. Box 2624, Columbus,
GA 31902.


                                         /s/ Evan M. Rosen
                                            Evan M. Rosen
